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                                              Jaclyn Hotard
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                       solutely nothing to do
                       with the lawsuit they
                       have against us. I also
                       sent to Bridget.

                                  They just do not give
                                  up!! Do they.

                       Nope
                                                                                         0.




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